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United States Attorney
District of New Jersey

 

970 Broad Street, Suite 700 973/645-2700
Newark, NJ 07102

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January 4, 2013
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Patrick McMahon, Esq., AFPD
Federal Public Defender’s Office AT 8:30__-________-M
1002 Broad Street WILLIAM T. WALSH CLERK

Newark, NJ 07102
Re: Plea Agreement with Michal Gunar
Dear Mr. McMahon:

This letter sets forth the plea agreement between your
client, Michal Gunar, and the United States Attorney for the
District of New Jersey (“this Office”).

Charge

Conditioned on the understandings specified below, this
Office will accept a guilty plea from Michal Gunar to a two-count
Indictment, Criminal No. 12-815 (JAP). Count One of the
Indictment charges conspiracy to commit a hate crime offense,
contrary to Title 18, United States Code, Section 249(a) (1), in
violation of Title 18, United. States Code, Section 371. Count
Two of the Indictment charges the commission of a hate crime
offense, in violation of Title 18, United States Code, Sections
249(a)(1) and 2. If Michal Gunar enters a guilty plea and is
sentenced on these charges, and otherwise fully complies with all
of the terms of this agreement, this Office will not initiate any
further criminal charges against Michal Gunar for knowingly and
willfully conspiring with others to commit an offense against the
United States, and for the actual commission of that offense;
that is, willfully causing bodily injury to certain individuals,
who are of Egyptian descent, because of their actual and
perceived race, color, and national origin, on December 31, 2011,
in Middlesex County, in the District of New Jersey. However, in
the event that a guilty plea in this matter is not entered for
any reason or the judgment of conviction entered as a result of
this guilty plea does not remain in full force and effect,
defendant agrees that any dismissed charges and any other charges
that are not time-barred by the applicable statute of limitations
on the date this agreement is signed by Michal Gunar may be
commenced against him, notwithstanding the expiration of the >
limitations period after Michal Gunar signs the agreement.
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Sentencing

a. Count One

The violation of 18 U.S.C. § 371 to which Michal Gunar
‘agrees to plead guilty carries a statutory maximum prison
sentence of 5 years, anda statutory maximum fine equal to the
greatest of: (1) $250,000; (2) twice the gross amount of any
pecuniary gain that any persons derived from the offense; or (3)
twice the gross amount of any pecuniary loss sustained by any
victims of the offense, Fines imposed by the sentencing judge

may be subject to the payment of interest.

b. Count Two

The violations of 18 U.S.C. §§ 249 (a)(1) and 2 to
which Michal Gunar agrees to plead guilty carry a statutory
Maximum prison sentence of 10 years, and a statutory maximum fine
equal to the greatest of: (1) $250,000; (2) twice the gross
amount of any pecuniary gain that any persons derived from the
offense; or (3) twice the gross amount of any pecuniary loss
sustained by any victims of the offense. Fines imposed by the
sentencing judge may. be subject to the payment of interest.

The sentence to be imposed upon Michal Gunar is within
the sole discretion of the sentencing judge, subject to the
provisions of the Sentencing Reform Act, 18 U.S.C. § 3551-3742,
and the sentencing judge’s consideration of the United States
-Sentencing Guidelines. The United States Sentencing Guidelines
are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum
term of imprisonment and the maximum statutory fine. This Office
cannot and does not make any representation or promise as to what
guideline range may be found by the sentencing judge, or as to
what sentence Michal Gunar ultimately will receive.

Further, in addition to imposing any other penalty on
Michal Gunar, the sentencing judge: (1) will order Michal Gunar
to pay an assessment of $100 per count pursuant to 18 U.S.C. §
3013, which assessment must be paid by the date of sentencing;
(2) may order Michal Gunar to pay restitution pursuant to 18
U.S.C. § 3663 et seg., and (3) pursuant to 18 U.S.C. § 3583, may
require Michal Gunar to serve a term of supervised release of not
more than three years, per count, which will begin at the
expiration of any term of imprisonment imposed, and which terms
will run concurrently. Should Michal Gunar be placed on a term .
of supervised release and subsequently violate any of the
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conditions of supervised release before the expiration of its
term, Michal Gunar may be sentenced to not more than two years’
imprisonment, per count, in addition to any prison term
previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and without credit for time
previously served on post-release supervision, which terms may
run either consecutively or concurrently, and may be sentenced to
additional terms of supervised release.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this
Office reserves its right to take any position with respect to
the appropriate sentence to be imposed on Michal Gunar by the,
sentencing judge, to correct any misstatements relating to the
sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information
relevant to sentencing, favorable or otherwise. In addition,
this Office may inform the sentencing judge and the United States
Probation Office of: (1) this agreement; and (2) the full nature
and extent of Michal Gunar’s activities and relevant conduct with
respect to this case. ,

Stipulations

This Office and Michal Gunar agree to stipulate at
sentencing to the statements set forth in the attached Schedule
A, which hereby is made a part of this plea agreement. This
agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and
May reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate toa
particular fact or legal conclusion, each reserves the right to
argue the existence of and the effect of any such fact or
conclusion upon the sentence. Moreover, this agreement to
stipulate on the part of this Office is based on the information
and evidence that this Office possesses as of the date of this
agreement. Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines to
be credible and to be materially in conflict with any stipulation
in the attached Schedule A, this Office shall not be bound by any
such stipulation. A determination that any stipulation is not
binding shall not release either this Office or Michal Gunar from
any other portion of this agreement, including any other
stipulation. If the sentencing court rejects a stipulation, both
parties reserve the right to argue on appeal or at post- .
sentencing proceedings that the sentencing court was within its
discretion and authority to do so. These stipulations do not
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restrict this Office’s right to respond to questions from the
Court and to correct misinformation that has been provided to the
Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Michal
Gunar waive certain rights to-file an appeal, collateral attack,
writ, or motion after sentencing, including but not limited to an
appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255.

Immigration Consequences

The defendant understands that, if he is not a citizen
of the United States, his guilty plea to the charged offenses
will likely result in his being subject to immigration
proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his
naturalization. The defendant understands that the immigration
consequences of this plea will be imposed in a separate
proceeding before the immigration authorities. The defendant
wants and agrees to plead guilty to the charged offenses
regardless of any immigration consequences of. this plea, even if
this plea will cause his removal from the United States. The
defendant understands that he is bound by his guilty plea
regardless of any immigration consequences of the plea.
Accordingly, the defendant waives any and all challenges to his
guilty plea and to his sentence based on any immigration
consequences, and agrees not to seek to withdraw his guilty plea,
or to file a direct appeal or any kind of collateral attack
challenging his guilty plea, conviction, or sentence, based on
any immigration consequences of his guilty plea.

Other Provisions

 

This agreement is limited to. the United States
Attorney’s Office for the District of New Jersey and cannot bind
other federal, state, or local authorities. However, this. Office
will bring this agreement to the attention of other prosecuting
offices, if requested to do so.

This agreement was reached without regard to any civil
or administrative matters that may be pending or commenced in the
future against Michal Gunar. This agreement does not prohibit
the United States, any agency thereof (including the Internal
Revenue Service and Immigration and Customs Enforcement), or any
third party from initiating or prosecuting any civil or
administrative proceeding against Michal Gunar.

 
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No Other Promises

 

This agreement constitutes the plea agreement between
Michal Gunar and this Office and supersedes any previous
agreements between them. No additional promises, agreements, or
conditions have been made or will be made unless set forth in
writing and signed by the parties. | :

Very truly yours,

PAUL J. FISHMAN
Uniteg States Attorney

  
  

7 Dgynnis C. Carletta
Asfistant U.S. Attorney

APPROVED:

‘Andrew Kogan
Chief, National Security Unit

I have received this letter from my attorney, Patrick
McMahon, Esq. I have read it in its entirety. My attorney and
have discussed it and all of its provisions, including those
addressing the charge, sentencing, stipulations, waiver,
forfeiture, and immigration consequences. I understand this
letter fully. I hereby accept its terms and conditions and
acknowledge that it constitutes the plea agreement between the
parties. I understand that no additional promises, agreements,
or conditions have been made or will be made unless set forth in.
writing and signed by the parties. I want to plead guilty
pursuant to this plea agreement.

AGREED AND ACCEPTED:

Michal Sa ne

Date; ala 5] IS

     

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I have discussed with my client this plea agreement and
all of its provisions, including those addressing the charges,
sentencing, stipulations, waiver, forfeiture, and immigration
consequences. My client understands this plea agreement fully
and wants to plead guilty pursuant to it.

9h Date: 5-251

Patrick McMahon,
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Plea Agreement With Michal Gunar
Schedule A

1. This Office and Michal Gunar recognize that the
United States Sentencing Guidelines are not binding upon the
Court. This Office and Michal Gunar nevertheless agree to the
Stipulations set forth herein, and agree that the Court should
sentence Michal Gunar within the Guidelines range that results
from the total Guidelines offense level set forth below. This
Office and Michal Gunar further agree that neither party will
argue for the imposition of a sentence outside the Guidelines
range that results from the agreed total Guidelines offense
level.

Count One

2. The version of the United States Sentencing
Guidelines effective November 1, 2012 applies in this case. The
applicable guideline, pursuant to U.S.S.G. § 2X1.1{(a), is
U.S.S.G. § 2H1.1, which provides that the base offense level
shall be calculated by utilizing the offense level from the
offense guideline applicable to any underlying offense. As the
underlying offense in this case is a hate crime aggravated
assault, the applicable guideline is U.S.S.G. § 2A2.2. This
guideline carries a Base Offense Level of 14.

3. Specific Offense Characteristic U.S.S.G. §
2A2.2(b) (2) (C) applies, as at least one dangerous weapon was
brandished or its use was threatened in the assault. This
Specific Offense Characteristic results in an increase of 3
levels to the Base Offense Level.

4. Specific Offense Characteristic U.S.S.G. §
2A2.2(b) (3) (A) applies, as at least one victim sustained bodily
injury. This Specific Offense Characteristic results in an
increase of 3 levels to the Base Offense Level.

5. Specific Offense Characteristic U.S.S.G. § 3Al.1(a)
applies, as the defendant intentionally selected at least one
victim as the object of the offense on the basis of the victim’s
actual or perceived race, color, religion, national origin or
ethnicity. This Specific Offense Characteristic results in an
increase of 2 levels to the Base Offense Level.

 
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6.. The adjusted offense level for Count One resulting
from the Specific Offense Characteristic guidelines applied above
is 22. .

Count -Two

7. The version of the United States Sentencing
Guidelines effective November 1, 2012 applies in this case. The
applicable guideline is U.S.S.G. § 2H1.1, which provides that the
base offense level shall be calculated by utilizing the offense
level from the offense guideline applicable to any underlying
offense. As the underlying offense in this case is a hate crime
aggravated assault, the applicable guideline is U.S.S.ca. § 2A2.2.
This guideline carries a Base Offense Level of 14.

8. Specific Offense Characteristic U.S.8.G. §
2A2.2(b) (2) (C) applies, as at least one dangerous weapon was
brandished or its use was threatened in the assault. This
Specific Offense Characteristic results in an increase of 3
levels to the Base Offense Level.

9. Specific Offense Characteristic U.S.S.G. §
2A2.2(b) (3) (A) applies, as at least one victim sustained bodily
injury. This Specific Offense Characteristic results in an
increase of 3 levels to the Base Offense Level.

. LO. Specific Offense Characteristic U.S.S.G. §
3A1l.1(a) applies, as the defendant intentionally selected at
least one victim as the object of the offense on the basis of the |
victim’s actual or perceived race, color, religion, national
origin or ethnicity. This Specific Offense Characteristic
results in an increase of 2 levels to the Base Offense Level.

11. The adjusted offense level for Count Two resulting
from the Specific Offense Characteristic guidelines applied above
is 22. —

Grouping of Counts One and Two

12. Pursuant to U.S.S.G. § 3D1.2(b), the two counts of
the Indictment group together into a single group as they involve
substantially the same harm. See U.S.S.G. § 3D1.2(b),
Application Note 4.

13. Pursuant to U.S.S.G. § 3D1.3(a), the offense level
for the combined group is 22.
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14. As of the date of this letter, Michal Gunar has
clearly demonstrated a recognition and affirmative acceptance of
personal responsibility for the offenses charged. Therefore, a
downward adjustment of 2 levels for acceptance of responsibility
is appropriate if Michal Gunar’s acceptance of responsibility
continues through the date of sentencing. See U.S.S.G.

§ 3El.1(a).

15. As of the date of this letter, Michal Gunar has
assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting this Office to
avoid preparing for trial and permitting this Office and the
court to allocate their resources efficiently. At sentencing,
this Office will move for a further 1l-point reduction in Michal
Gunar’s offense level pursuant to U.S.S.G. § 3E1.1(b) if the
following conditions are met: (a) Michal Gunar enters a plea
pursuant to this agreement, (b) this Office in its discretion
determines that Michal Gunar’s acceptance of responsibility has
continued through the date of sentencing and Michal Gunar
therefore qualifies for a 2-point reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) Michal
Gunar’s offense level under the Guidelines prior to the operation
of § 3E1.1(a) is 16 or greater.

16. In accordance with the above, the parties agree
that the total Guidelines offense level applicable to Michal
Gunar is 19 (the “agreed total Guidelines offense level”) .

_ 17. The parties agree not to seek or argue for any
upward or downward departure, adjustment or variance not set
forth herein. The parties further agree that a sentence within
the Guidelines range that results from the agreed total
Guidelines offense level of 19 is reasonable.

18. Michal Gunar knows that he has and, except as
noted below in this paragraph, voluntarily waives, the right to
file any appeal, any collateral attack, or any other writ or
motion, including but not limited to an appeal under 18 U.S.C. §
3742 or a motion under 28 U.S.C. § 2255, which challenges the
sentence imposed by the sentencing court if that sentence falls
within or below the Guidelines range that results from the agreed
total Guidelines offense level of 19. This Office will not file
any appeal, motion, or writ which challenges the sentence imposed
by the sentencing court if that sentence falls within or above
the Guidelines range that results from the agreed total
Guidelines offense level of 19. The parties reserve any right
they may have under 18 U.S.C. § 3742 to appeal the sentencing

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court’s determination of the criminal history category. The
provisions of this paragraph are binding on the parties even if
the Court employs a Guidelines analysis different from that
Stipulated to herein. Furthermore, if the sentencing court
accepts a stipulation, both parties waive the right to file an
appeal, collateral attack, writ, or motion claiming that the
sentencing court erred in doing so.

19. Both parties reserve the right to oppose or move
to dismiss any appeal, collateral attack, writ, or motion barred
by the preceding paragraph and to file or to oppose any appeal,
collateral attack, writ or- motion not barred by the preceding
paragraph.
